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             9                          UNITED STATES DISTRICT COURT
            10                        CENTRAL DISTRICT OF CALIFORNIA
           11                                      WESTERN DIVISION
           12    HERBALIFE INTERNATIONAL, INC., Case No:
                 a Nevada corporation,
           13
                               Plaintiff,                     COMPLAINT FOR INTENTIONAL
           14                                                 INTERFERENCE WITH
                        vs.                                   CONTRACTUAL RELATIONS
           15
                 ADIDAS AMERICA, INC., a Delaware
           16    corporation,                                 DEMAND FOR JURY TRIAL
           17                  Defendant.
           18

           19
                        Plaintiff Herbalife International, Inc. ("Herbalife") alleges as follows:
           20
                                                    INTRODUCTION
                        1.     This is a complaint for intentional interference with contractual
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                 relations based on the actions of Adidas America, Inc. ("adidas America"), with
           23
                 regard to Herbalife's agreement with Anschutz L.A. Soccer, Inc., the owner of the
           24
                 Los Angeles Galaxy ("Galaxy") Major League Soccer ("MLS") team.
           25
                                                       PARTIES
           26
                       2.     Plaintiff Herbalife is a Nevada corporation, having its principal place
           27
                 of busirwss a It 1800 Century Park East, Los Angeles, California 90067.
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           1            3.     Defendant adidas America is a corporation organized and existing
           2     under the laws of the State of Delaware, having its principal place of business at
           3     5055 N. Greeley Avenue, Portland, Oregon 97217.
           4                               JURISDICTION AND VENUE
           5            4.     This Court has original jurisdiction under 28 U.S.C. § 1332(a)(2), in
           6     that it is a civil action between a citizen of a State and a citizen of a foreign state in
           7     which the amount in controversy exceeds $75,000 exclusive of interest and costs.
           8            5.     Venue lies properly in this judicial district pursuant to 28 U.S.C. §§
           9     1391(b) and 1391(c). adidas America sells and offers for sale products in this
          10     judicial district and does engage in significant business activities in California.
          11     Additionally, a substantial part of the events or omissions giving rise to Herbalife’s
          12     claim for intentional interference occurred in California. Therefore, adidas
          13     America is subject to personal jurisdiction in California.
          14                                 GENERAL ALLEGATIONS
          15            6.     Herbalife manufactures and sells weight, nutritional, skin, and
          16     personal care products under its distinctive Tri-Leaf Design trademark (“TRI-
          17     LEAF Mark”). Herbalife sells its products in this judicial district.
          18            7.     adidas America is wholly-owned by its parent company, adidas AG
          19     and its affiliates (referred to collectively as “adidas”), and within this country is a
          20     licensed distributor of ADIDAS-brand merchandise, including a variety of goods
          21     such as sports apparel, accessories and equipment, under its distinctive Trefoil
          22     Design trademark (“TREFOIL Mark”). adidas America sells its products in this
          23     judicial district.
          24            8.     Third-party Anschutz Entertainment Group (“AEG”), one of the
          25     largest owners of professional sports teams and stadiums in the world, owns and
          26     operates the Galaxy in its capacity as an agent for MLS.
          27            9.     Effective as of March 14, 2007, Herbalife and AEG, via Anschutz
          28     L.A. Soccer, Inc., entered into a contract [the 2007 Sponsor Agreement] for
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           1     Herbalife’s sponsorship of the Galaxy soccer team.
           2           10.   The 2007 Sponsor Agreement included provisions for the team to use
           3     the Herbalife TRI-LEAF mark and the Herbalife name through December 31, 2011
           4     to acknowledge Herbalife’s status as an official sponsor of the team.
           5           11.   The Herbalife TRI-LEAF mark and the Herbalife name have appeared
           6     in a prominent position on the front of all Galaxy jerseys since March 2007.
           7           12.   The 2007 Sponsor Agreement also confers to Herbalife the right to
           8     approve the appearance of its name and TRI-LEAF mark on Galaxy apparel.
           9           13.   Under the 2007 Sponsorship Agreement, Herbalife’s name and TRI-
          10     LEAF mark are to be prominently placed and placement of adidas’s name and logo
          11     (TREFOIL mark) is secondary to Herbalife’s rights.
          12                              FIRST CLAIM FOR RELIEF
          13     (INTENTIONAL INTERFERENCE WITH CONTRACTUAL RELATIONS)
          14           14.   Herbalife incorporates by reference paragraphs 1-14 above.
          15           15.   adidas America is, and has at all relevant times been, aware of the
          16     2007 Sponsor Agreement.
          17           16.   adidas is the official manufacturer of all MLS apparel, including
          18     Galaxy jerseys.
          19           17.   adidas America is now objecting to the use of the Herbalife TRI-
          20     LEAF mark and seeks its removal from the team jerseys and other goods.
          21           18.   Herbalife recently became aware that the Sports Marketing group of
          22     adidas America manufactures the Galaxy team jerseys.
          23           19.   After requests to AEG for the artwork to approve for the 2011 Galaxy
          24     jerseys since at least June 2009, on December 3, 2009, Herbalife received
          25     photographs (not the artwork) of adidas’ re-design for the 2011 Galaxy jerseys,
          26     which did not include the Herbalife TRI-LEAF mark.
          27           20.   That very same day, Herbalife informed AEG that it did not approve
          28     of the re-design as is required under the 2007 Sponsorship Agreement.
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           1           21.    adidas America will soon commence production of the 2011 jerseys
           2     for Galaxy and, on January 12, 2010, AEG informed Herbalife that adidas America
           3     had refused, and continues to refuse, to produce the 2011 Galaxy jerseys with the
           4     Herbalife TRI-LEAF mark.
           5           22.    On January 15, 2010, Herbalife received written confirmation of
           6     adidas’s refusal. Moreover, in that written communication, Herbalife first learned
           7     that adidas “will move forward with the current creative if this situation is not
           8     resolved by Jan. 20th.”
           9           23.    Herbalife has repeatedly informed AEG that it does not approve of
          10     any design of Galaxy jerseys that does not include Herbalife’s TRI-LEAF mark.
          11           24.    On January 19, 2010, Herbalife provided AEG with formal, written
          12     notice of its disapproval.
          13           25.    On January 20, 2010, Herbalife first learned that adidas has also
          14     refused to release the design materials for 2011 Galaxy jerseys even to AEG. Thus,
          15     on January 20, 2010, Herbalife first learned that adidas was acting independently
          16     of AEG, and that adidas’s actions prevented AEG from providing the artwork to
          17     Herbalife.
          18           26.    adidas America’s refusal to print the Herbalife TRI-LEAF mark has
          19     interfered with Herbalife’s 2007 Sponsor Agreement with the Galaxy.
          20           27.    adidas America knew and intended its conduct would interfere with
          21     Herbalife’s 2007 Sponsor Agreement with the Galaxy.
          22           28.    As a result of adidas America’s interference with Herbalife’s valid
          23     contract, Herbalife has suffered damages in an amount currently unknown.
          24                                  PRAYER FOR RELIEF
          25           WHEREFORE, Herbalife prays for relief as follows:
          26           A. On the first cause of action, for injunctive relief preventing adidas
          27     America from further interfering in Herbalife’s contractual relations with Anschutz
          28     L.A. Soccer, Inc., owner of the Los Angeles Galaxy;
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